 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 WESTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     900 Cesar Chavez, LLC

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           8      3      –      1      7        8    1         5   0     0

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       814 Lavaca Street
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Austin                              TX       78701
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Travis                                                          from principal place of business
                                       County

                                                                                                       900 and 904 Cesar Chavez
                                                                                                       Number     Street




                                                                                                       Austin                        TX      78701
                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
Debtor 900 Cesar Chavez, LLC                                                              Case number (if known)

7.   Describe debtor's business       A. Check one:

                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above


                                      B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in
                                           15 U.S.C. § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes

                                            5      3       1      1

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                        Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                           insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                           4/01/22 and every 3 years after that).

                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return or if
                                                               all of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                           Chapter 12

9.   Were prior bankruptcy                 No
     cases filed by or against
     the debtor within the last 8          Yes. District                                          When                      Case number
     years?                                                                                                MM / DD / YYYY

                                                District                                          When                      Case number
     If more than 2 cases, attach a
                                                                                                           MM / DD / YYYY
     separate list.
                                                District                                          When                      Case number
                                                                                                           MM / DD / YYYY



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
Debtor 900 Cesar Chavez, LLC                                                             Case number (if known)

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes. Debtor *See attached list.                                    Relationship Affilate
    affiliate of the debtor?
                                                  District Western District of Texas, Austin Divisi When
    List all cases. If more than 1,                                                                                          MM / DD / YYYY
    attach a separate list.                       Case number, if known


                                                  Debtor                                                      Relationship

                                                  District                                                    When
                                                                                                                             MM / DD / YYYY
                                                  Case number, if known


11. Why is the case filed in          Check all that apply:
    this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                           days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                           any other district.

                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                           district.


12. Does the debtor own or                 No
    have possession of any                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                   needed.
    property that needs
                                                Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                     related assets or other options).

                                                     Other


                                                Where is the property?
                                                                              Number      Street




                                                                              City                                      State        ZIP Code

                                                Is the property insured?

                                                     No
                                                     Yes. Insurance agency

                                                              Contact name

                                                              Phone


              Statistical and adminstrative information
13. Debtor's estimation of            Check one:
    available funds                       Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
Debtor 900 Cesar Chavez, LLC                                                             Case number (if known)

14. Estimated number of                     1-49                               1,000-5,000                               25,001-50,000
    creditors                               50-99                              5,001-10,000                              50,001-100,000
                                            100-199                            10,001-25,000                             More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 11/04/2019
                                                      MM / DD / YYYY

                                          X /s/ Brian Elliott                                       Brian Elliott
                                              Signature of authorized representative of debtor      Printed name

                                          Title Corporate Counsel

18. Signature of attorney                X /s/ Morris D. Weiss                                                    Date     11/04/2019
                                            Signature of attorney for debtor                                              MM / DD / YYYY

                                            Morris D. Weiss
                                            Printed name
                                            Waller Lansden Dortch & Davis, LLP
                                            Firm name
                                            100 Congress Avenue, 18th Floor
                                            Number          Street



                                            Austin                                                     TX                   78701
                                            City                                                       State                ZIP Code


                                            (512) 685-6400                                             morris.weiss@wallerlaw.com
                                            Contact phone                                              Email address
                                            21110850
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
List of Affiliated Entities Being Filed:

Debtor                           Relationship   District                               Date
5th and Red River, LLC           Affiliate      Western Dist. of TX, Austin Division   11/4/19
7400 South Congress, LLC         Affiliate      Western Dist. of TX, Austin Division   11/4/19
900 Cesar Chavez, LLC            Affiliate      Western Dist. of TX, Austin Division   11/4/19
905 Cesar Chavez, LLC            Affiliate      Western Dist. of TX, Austin Division   11/4/19




031361-00001/4845-2829-5852.1
 Fill in this information to identify the case:
 Debtor name        900 Cesar Chavez, LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                                                                               Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and            Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing                number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip          address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                            creditor              professional          unliquidated,   secured, fill in total claim amount and
                                 contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total           Deduction       Unsecured
                                                                                             claim, if       for value       claim
                                                                                             partially       of
                                                                                             secured         collateral
                                                                                                             or setoff
1   Studio 8 Architects, Inc                           Services                                                                    $5,080.13
    611 W 15th St
    Austin, TX 78701




2   Travis County Tax                                  Taxes                                                                            $0.00
    Assessor
    Attn: Bruce Elfant
    5501 Airport Blvd
    Austin, TX 78751

3   Texas Comptroller of                               Franchise Tax                                                                    $0.00
    Public Accounts
    Revenue Accounting
    Division - Bankruptcy
    P.O. Box 13528 Capitol
    Station
4   City of Austin                                     Utilities                                                                        $0.00
    P.O. Box 2267
    Austin, TX 78783-2267




Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 1
                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                               AUSTIN DIVISION
  IN RE:   900 Cesar Chavez, LLC                                                   CASE NO

                                                                                   CHAPTER    11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 11/4/2019                                           Signature    /s/ Brian Elliott
                                                                     Brian Elliott
                                                                     Corporate Counsel


Date                                                     Signature
5th and Red River, LLC
814 Lavaca Street
Austin, TX 78701



7400 South Congress, LLC
814 Lavaca Street
Austin, TX 78701



905 Cesar Chavez, LLC
814 Lavaca Street
Austin, TX 78701



ATX Lender 5, LLC
600 Travis, Suite 2800
Houston, TX 77002



City of Austin
P.O. Box 2267
Austin, TX 78783-2267



Internal Revenue Service
Centralized Insolvency Office
P.O. Box 7346
Philadelphia, PA 19101-7346


Locke Lord LLP
Attn: Paul Pruett and Jonathan Pelayo
2800 JPMorgan Chase Tower
600 Travis
Houston, TX 77002

Locke Lord LLP
Attn: Kent Hoffman and Daniel Durell
600 Congress Ave., Ste. 2200
Austin, TX 78701


Studio 8 Architects, Inc
611 W 15th St
Austin, TX 78701
Texas Comptroller of Public Accounts
Revenue Accounting Division - Bankruptcy
P.O. Box 13528 Capitol Station
Austin, TX 78711


Travis County Attorney's Office
Attention: County Attorney
P.O. Box 1748
Austin, TX 78767


Travis County Tax Assessor
Attn: Bruce Elfant
5501 Airport Blvd
Austin, TX 78751


U.S. Real Estate Credit Holdings III,
11755 Wilshire Blvd., Suite 1425
Los Angeles, CA 90025



U.S. Real Estate Credit Holdings III-A,
11755 Wilshire Blvd., Suite 1425
Los Angeles, CA 90025



United States Trustee
903 San Jacinto, Ste. 230
Austin, TX 78701



Westlake Industries, LLC
11500 Metric Blvd, Suite 285
Austin, TX 78758



World Class Capital Group, LLC
814 Lavaca St.
Austin, TX 78701
                   UNANIMOUS WRITTEN CONSENT OF THE MANAGER
                            OF 900 CESAR CHAVEZ, LLC

                                             November 4, 2019

        Pursuant to and in accordance with Section 18-404 of the Delaware Limited Liability
Company Act (the "Act") and Section 14 of the Limited Liability Company Agreement of 900
Cesar Chavez, LLC (the "Company") dated September 19, 2018 (the "Operating Agreement") 1,
the undersigned, constituting the sole Manager (the "Manager") of the Company, hereby take
action, without holding a meeting, providing notice, or taking a vote, and consent to the
adoption of the following resolutions as of the date first written above:

      WHEREAS, the following resolutions are being adopted by the Manager in the name
and on behalf of the Company, acting (i) in their own capacity, and (ii) as officers of the
Company (such capacities being referred to herein as the "Applicable Capacities"); and

       WHEREAS, Section 14 of the Operating Agreement provides that the business affairs of
the Company shall be managed under the direction of the Manager in the ordinary course of
business; and

       WHEREAS, it is desirable and in the best interest of the Company, its creditors, its
equity holders, and other interested parties, that a petition (the "Petition") be filed seeking relief
under the provisions of Chapter 11 of Title 11, United States Code (the "Bankruptcy Code") in
which the authority to operate as a debtor-in-possession will be sought.

        NOW THEREFORE, IT IS HEREBY RESOLVED, that the Manager finds that the
execution, delivery, and filing of the Petition is necessary and convenient to the conduct,
promotion, and attainment of the business and purpose of the Company and that the execution,
delivery, and filing of the Petition, is reasonably expected to directly and indirectly benefit the
Company and is in the best interest of the Company; and it is further

        RESOLVED, that in the judgment of the Manager, it is desirable and in the best interest
of the Company, its creditors, its equity holders, and other interested parties, that the Petition be
filed seeking relief under the provisions of Chapter 11 of the Bankruptcy Code in which the
authority to operate as a debtor-in-possession will be sought, and the filing of the Petition is
authorized hereby, and the Company shall initiate a case and proceedings; and it is further

        RESOLVED, that the Manager, Brian Elliott as counsel to the Manager, and any duly
elected and appointed officers of the Company (collectively, the "Authorized Persons" and each
an "Authorized Person") be, and hereby are, authorized and directed, for and on behalf of the
Company, to execute and verify the Petition in the name of the Company under Chapter 11 of
the Bankruptcy Code and cause the same to be filed in the United States Bankruptcy Court for


         1
          All capitalized terms used herein and not otherwise defined shall have the same meaning as ascribed to
them in the Operating Agreement.
4822-1067-1275.3



                                     [900 Cesar Chavez, LLC Resolutions]
the Western District of Texas, in their Applicable Capacities, and without necessity for joinder
or consent of any other person, with such changes therein as such Authorized Person executing
the same shall approve, such approval to be evidenced conclusively by his or her execution and
delivery of the Petition; and it is further

        RESOLVED, that the Authorized Persons, in each case, acting singly or jointly, be, and
each hereby is, authorized, empowered, and directed, with full power of delegation, in the name
and on behalf of the Company, to take and perform any and all further acts and deeds that such
Authorized Person deems necessary, appropriate, or desirable in connection with the Company's
chapter 11 case (the "Chapter 11 Case") or the chapter 11 filings, including, without limitation,
(i) the payment of fees, expenses, and taxes such Authorized Person deems necessary,
appropriate, or desirable, and (ii) negotiating, executing, delivering, performing, and filing any
and all additional documents, schedules, statements, lists, papers, agreements, certificates,
and/or instruments (or any amendments or modifications thereto) in connection with, or in
furtherance of, the Chapter 11 Case with a view to the successful prosecution of the Chapter 11
Case (such acts to be conclusive evidence that such Authorized Person deemed the same to meet
such standard) ; and it is further


        RESOLVED, that the Authorized Persons of the Company, or any of them, are hereby
authorized to execute, verify and/or file or cause to be filed (or direct others to do so on their
behalf), all documents including, without limitation, petitions, schedules, lists, affidavits,
motions, pleadings, and other papers, and to take any and all action which they deem necessary
or proper in connection with such proceedings under Chapter 11, and in that connection to retain
and employ Waller Lansden Dortch & Davis, LLP, as principal bankruptcy counsel; and to
retain and employ other legal counsel or professionals which they may deem necessary or proper
with a view to the successful conclusion of such bankruptcy case (together, the "Restructuring
Professionals"); and it is further

        RESOLVED, that the Authorized Persons of the Company are hereby authorized and
directed to execute retention agreements, pay retainers, prior to, immediately upon and after the
filing of the bankruptcy case, and to cause to be filed an application for authority to retain the
services of the Restructuring Professionals; and it is further

        RESOLVED, that the Authorized Person is hereby authorized to give, make, sign,
execute and deliver any agreements, letters, notices, certificates, acknowledgements, receipts,
authorizations, instructions, releases, waivers, proxies, appointments of agents for service of
process and other documents (whether of a like nature or not) (collectively, "Ancillary
Documents") as may in the sole opinion and absolute discretion of any Authorized Person be
considered necessary or desirable for the purpose of giving effect to, consummating, completing,
or procuring the performance and completion of the transactions contemplated by the foregoing
resolutions, and to do all such acts and things and to agree to all fees, as might in the sole
opinion and absolute discretion of any Authorized Person be necessary or desirable for the
purposes aforesaid; and it is further

4822-1067-1275.3
                                                 2

                                [900 Cesar Chavez, LLC Resolutions]
        RESOLVED, the Ancillary Documents be in such form as any Authorized Person shall
in such Authorized Person's absolute discretion and sole opinion approve, the signature of such
Authorized Person on any of the Ancillary Documents being due evidence for all purposes of
such Authorized Person's approval of the terms thereof on behalf of the Company; and it is
further

         RESOLVED, that any and all past actions heretofore taken by any Authorized Person or
any member of the Company in the name and on behalf of the Company in furtherance of any or
all of the foregoing resolutions be, and the same hereby are, ratified, confirmed, and approved in
all respects; and it is further

       RESOLVED, that any or all of the foregoing resolutions may be executed in any
number of counterparts, and transmitted by facsimile or in portable document format (.pdt), each
of which when executed shall have the same force and effect as an original instrument, and all of
which shall together constitute one and the same instrument.

                          [SIGNATURES ON FOLLOWING PAGE]




4822-1067-1275.3
                                                 3

                                [900 Cesar Chavez, LLC Resolutions]
        IN WITNESS WHEREOF, the undersigned have executed this Consent, effective as of
the date first written above.

                                 MANAGER:



                                 WORLD CLASS HOLDINGS XI, LLC,
                                 a Delaware limited liability company


                                 By•Jt,.rte
                                 Name: Natin Paul
                                 Title: President




4822-1067-1275.3
                                             4

                            [900 Cesar Chavez, LLC Resolutions]
